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                                                    UNITED STATES DI STRICT COURT
                                                                                                                              Cle.R~ U S DIST~ICT COURT
                                                                                                                                 O1SiRIO?-Of' ARt~ONA
                                                                         for the
                                                                                                                              iY                            O'BPUTV
                                                               District of Arizona

                In the Matter of the Search of
       Priority Mail Parcel 9505506633962185666285                           )
                 addressed to PO BOX 91                                      )
                      Supai AZ 86435                                         )       Case No . 22-043 I9MB
                                                                             )
                                                                             )
                                                                             )

                     ELECTRO NI CALLY ISSUED SEARCH AND SEIZURE WARRANT
To :      Any authori zed law enforcement officer.

            An application by a federal law enforcement officer or an attorney for the govern ment requests the search
of the following person or property located in the _ __                                _ _ _ Distr ict of -'A   --'-'r-'-iz""'o'"'"n'"a"'-.'-_ _ _ _ _ _ _ __
(idem ![I· th,• person or describe the property 10 be searched and give its /ocalio11) : lJSPS Priority·Mail parcel bearing US PS tracking number
9505506633962185666285, addressed to" PO BOX 91 Supai, AZ 86435," with no return address. It is a Priority Mail Large Flat
Rate box; measuring approximately 12.25 X 12 X 6 inches; weighing approximately 8lbs I oz; postmarked .July 4, 2022; and
bearing $21.50 in postage. This pucel is referred to as SUBJECT PARCEL 1.


          The person or property to be searched, described above. is believed to conceal fidentif.i• thf person or describe the property
to be sei:::ed/: See Attachment A.

         I find that the affidavit(s). or any recorded test imony. have been communicated by reliable electronic means and
establish probable cause to search and seize the person or property .
          YOU ARE COMMANDED to execute th is warrant on or before
                                                                                                       September 8, 2022
                                                                                                   - - - ' - - - - - -·-·       -        -· "'J.
                                                                                                                    rn o t 10 e.weed   I./ da,'ISJ
       ~ in the daytime 6:00 a.m . to IO p.m.                0    at any time in the day or night as I find reasonab le catis~ has been
                                                                  estab lished .
Unless delayed notice is authorized below, you must give a copy of the search warrant and a receipt for th e prop~rty taken
to the person trom whom. or from whose premises. 1he property was taken, or leave a search warrant copy anct ·receipt at
the place where the property was taken

T he office r executing this warrant, or an officer present during the execution of the warrant. must prepare an
inv entory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
 Any U.S. Magistrate Judge in the District of Arizona .
                              /Name /

       DI   find that immediate notification may have an adverse res ult as specified in I 8 U.S .C . §3103 a (except for delay
of trial). and authorize lhe officer executing this warrant lo delay notice to the perso n who. or whose property , will be
searched or seized (check the appropriate box/         0for     days 11101 to exceed 30/.
                                                       D unt il, th e fac ts j usti tying, the later specific date of
Date and Time Issued :
                                                                   Cami 11 e D• Bib Ies Digita                     lly signed by Camil le D. Bibles
                                                                                                             Date: 202 2.08.25 18:20:07 -07'00'
                                                                                                        J udge ·s Signature

C ity and State:       Fl agstaf( Arizona                                        Camille Q, B ibles. Ur1Jted_States Mag istrateJudge
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                                ATTACHMENT A

                    THINGS TO BE SEARCHED FOR AND
                   SEIZED FROM THE SUBJECT PARCEL

      1.     The subject parcel/package described in the search warrant.

      2.     Any postage and packaging (e.g., paper, labels, plastic bags, or sealers)

and associated receipts.

      3.     Any spirituous, vinous, malted, fermen ted, or other intoxicating liquors

of any kind (alcohol) as well as any containers or additional packaging for same.

      4.     Any receipts or evidence of purchase for the alcohol.

      5.     Any indicia of ownership and/or who was the sender and/or recipient

of the package, such as anything with the owner's, sender's, and/or recipient's name

and/or address on it.
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                                                           Return
Case No .:                      Date and time waiTant executed:          Copy of warrant and inventory left with:
       22-04319MB
                                August 26, 2022, 12:08PM
Inventory made in the presence of: Inspector Aaron Behnen and William Me lv in

Inventorv of the orooe1iv taken and name of anv person( s) se ized:

        Priority Mail Parcel 9505506633962 I 85666285
        Bubble Wrap
        Burlap basmati rice bag
        Eight (8) 375ml bottles of Te n High sour mash bourbon whiskey




                                                        Certification


         1 declare under penalty of perjury that thi s inventory is correct and was returned along w ith the original warrant
to the des ignated judge.



Date:                                                               ~~r~
                                                                               Executing 0,/ficer 's Sig11a/11re

                                                                        Aaron E. Behnen, United States Postal In spector
                                                                                  Printed Name and Title
